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                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                           ROME DIVISION


UNITED STATES OF AMERICA,                                :
                                                         :
                                                         :
                V.                                       :   CRIMINAL NO. 4:18-CR-03-19-HLM

                                                         :
SAMANTHA MILLER
COBB COUNTY JAIL


                            WRIT OF HABEAS CORPUS AD PROSEQUENDUM

TO:     COBB COUNTY JAIL, MARIETTA, GA
        ANY U.S. MARSHAL AND ANY OTHER AUTHORIZED OFFICER.

        YOU ARE HEREBY COMMANDED to have the body of SAMANTHA MILLER, by you restrained

of her liberty, as it is said, by whatsoever names detained before the Honorable Walter E. Johnson, United States

Magistrate Judge of the United States District Court for the Northern District of Georgia of said Court in the City

of Rome, Georgia, at 1:30 p.m. on the 6th day of MARCH, 2018, and from day to day thereafter until discharged

by the Court, then and there to appear for a hearing and abide by the judgment of this Court in the above entitled

case, thence to be returned to the custody from which he came, and have you this writ.

        WITNESS the Honorable Judge of the United States District Court for the Northern District of Georgia,

        This 22nd day of February, 2018.



                                      __________________________
                                      WALTER E. JOHNSON
                                      UNITED STATES MAGISTRATE JUDGE

JAMES N. HATTEN, CLERK/DCE
February 22, 2018

/s/ Kari Butler
Kari Butler, Deputy Clerk
